       Case 2:14-cv-00056-TMP Document 79 Filed 05/19/16 Page 1 of 11                     FILED
                                                                                 2016 May-19 PM 02:57
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION


ADTRAV CORPORATION,                  )
                                     )
   Plaintiff/Counterclaim Defendant, )
                                     )
V.                                   ) CASE NO: 2:14-cv-0056-TMP-S
                                     )
DULUTH TRAVEL, INC.,                 )
                                     )
   Defendant/Counterclaim Plaintiff. )

ADTRAV CORPORATION’S SUR-REPLY TO DULUTH TRAVEL, INC.’S
      REPLY TO ADTRAV’S RESPONSE TO MOTION FOR
     CONTEMPT, SANCTIONS, AND ADDITIONAL RELIEF
      COMES NOW ADTRAV Corporation (“ADTRAV”) and responds to

Duluth Travel Inc.’s (“Duluth”) Reply to ADTRAV’s Response to Motion for

Contempt, Sanctions, and Additional Relief (“Motion for Contempt”) as follows:

                                   Introduction
      The Court’s November 30, 2015 Order relating to ADTRAV searching

electronically stored information (“ESI”) states as follows:

             Accordingly, Duluth is directed, within 7 days, to provide to
             ADTRAV a list of keywords to be used in a keyword-search of
             all ESI at issue in this case. The search will be conducted by or
             at the direction of ADTRAV, and all responsive documents
             which pertain to the contract with the Veterans Administration
             at issue here, shall be produced to Duluth within 24 days after
             the keywords are provided.
       Case 2:14-cv-00056-TMP Document 79 Filed 05/19/16 Page 2 of 11



(Doc. 53, p. 4 of 5). Duluth provided ADTRAV a list of keywords to be used in a

keyword-search of ADTRAV’s ESI at issue in this case. ADTRAV conducted a

search of its ESI and produced the documents that were responsive to the keyword-

search ADTRAV performed.          ADTRAV complied with the Court’s Order.

Duluth’s complains that ADTRAV did not produce (1) a search report that would

reveal search metrics used for each source of ESI as to how it conducted its ESI

search; (2) information regarding how it conducted its ESI search or what sources

of ESI were searched; and (3) its metadata contained in the sources of ESI.

      The Court’s November 30, 2015 Order did not require ADTRAV to produce

a search report revealing search metrics, information regarding how it conducted

its search, or metadata contained in the sources of ESI. ADTRAV never agreed to

the instructions Duluth requested that went above and beyond the Court’s

November 30, 2015 Order. Duluth is asking the Court to find ADTRAV in

contempt and to sanction ADTRAV for not agreeing to adopt Duluth’s instructions

that went beyond the Court’s November 30, 2015 Order.

      As the basis for its Motion for Contempt, Duluth relies primarily on the

Supplemental Report of its accounting expert Howard Zandman, CPA, by arguing

his Supplemental Report shows ADTRAV collected revenue under the VA

Contract that was never disclosed to or shared with Duluth. Duluth argues an




                                         2
          Case 2:14-cv-00056-TMP Document 79 Filed 05/19/16 Page 3 of 11



independent search of ADTRAV’s ESI would uncover documents not produced by

ADTRAV that would corroborate Zandman’s opinions.

       Even after ADTRAV has proven to the Court that Zandman’s Supplemental

Report contains both mathematical and assumption errors rendering it useless,

Duluth still relies upon Zandman’s Supplemental Report as support for its Motion

for Contempt. The following is a brief reply to some of the incorrect points Duluth

makes in its Reply to ADTRAV’s Response to Motion for Contempt.

              Duluth concedes Zandman’s Supplemental Report incorrect.
       Duluth’s Motion for Contempt is based upon Zandman’s Supplemental

Report.     Specifically, Duluth states: “The supplemental report from Duluth’s

expert (“Supplemental Report”) highlights ADTRAV’s manipulation of accounting

based on accounting data it produced pursuant to the November 30, 2015 Order.”

(Doc. 78, p. 2 of 15). Zandman’s Supplemental Report contains calculations

supposedly evidencing ADTRAV did not disclose hotel bookings to Duluth and

misclassified hotel bookings in the amount of $270,000. (See Schedule 4 to

Supplemental Report, Doc. 75-1, p. 22 of 390). Duluth does not even attempt to

argue and concedes Zandman’s Supplemental Report contains $100,000 of errors.1

Duluth characterizes this $100,000 of errors as “isolated examples of


1
  ADTRAV has previously shown the errors and incorrect assumptions made by Zandman and
Duluth total more than $100,000. The vast majority of the remaining $170,000 was deposited in
either a Duluth controlled bank account or a jointly controlled bank account and split and paid
according to booking allocation percentages.

                                              3
       Case 2:14-cv-00056-TMP Document 79 Filed 05/19/16 Page 4 of 11



inconsistencies in Duluth’s Supplemental Report.” (Doc. 78, p. 11 of 15). These

isolated examples of inconsistencies represent 37% of the total of Zandman’s

calculations ($100,000 divided by $270,000). Based on a typical grading system,

Zandman would receive a 63 or a “D-” on his Supplemental Report. Duluth relies

upon this “D-” report in support of its Motion for Contempt. As pointed out

before, Zandman consistently makes assumption and calculation errors rendering

all of his reports and opinions unreliable.

            Zandman’s $161,000 unreported transaction fees error.
      As pointed out by ADTRAV in its Response to Duluth’s Motion for

Contempt, in his initial report, Zandman listed as damages approximately $161,000

in unreported transaction fees. Zandman’s genesis for this calculation and the

assumption supporting this calculation was his incorrect belief that 65 names

reported on ADTRAV’s ARC 016 report were also reported on Duluth’s CBA

report leading Zandman to the conclusion that transactions associated with these 65

individuals were not reported to Duluth by ADTRAV. Zandman subsequently

conceded that he was incorrect.

      In his Supplemental Report, after acknowledging he was incorrect that the

transactions associated with the 65 names were, in fact, reported to Duluth by

ADTRAV, Zandman then represented he went back to the weekly net remit reports

produced by ADTRAV to summarize all the ARC 016 transactions that were



                                              4
        Case 2:14-cv-00056-TMP Document 79 Filed 05/19/16 Page 5 of 11



reported to Duluth. Zandman claims the sum total from 2011 through 2013 for all

the transactions reported in the net remit under ARC 016 was a net credit of $379.

Based upon his “calculations”, Zandman made the leap that $161,000 of ARC 016

transactions was unreported by ADTRAV to Duluth. In its Reply to ADTRAV’s

Response to Motion for Contempt, Duluth still relies upon Zandman’s calculations

and states “ADTRAV has not attempted to address these unreported transaction

fees.” (Doc. 78, p. 6 of 15).

       To put an end once and for all to this allegation that ADTRAV withheld

$161,000 in transaction fees related to ARC 016, ADTRAV has compared the data

used by Zandman in his initial report included on Schedule 16 to ADTRAV’s

TRAMS data.2 (Aff. of Roger Hale, ¶ 6, Ex. 2-5; attached as Ex. A). Each ticket

within the ARC 016 data used by Zandman is represented by a booking in the

TRAMS data, which includes the traveler name and the account name. (Id.). Only

$1,657.63 of the $161,378.80 Zandman claims was VA business, was actually VA

business. (Id., ¶ 6, Ex. 2-6).3 The remaining $154,721 is related to ADTRAV’s

non-VA business. The exhibits attached to Roger Hale’s Affidavit prove that

Zandman is again completely wrong when he alleges ADTRAV withheld money

under the VA contract due to Duluth. The $1,657.63 of transactions contained on
2
  The TRAMS data previously produced to Duluth did not include account names as this field
was not requested.
3
  ADTRAV took Zandman’s dollar amount calculations as correct for this analysis. However, as
will be shown at the appropriate time, Zandman double, triple and quadruple counted
commissions in several instances to arrive at his $161,378.80 figure.

                                             5
       Case 2:14-cv-00056-TMP Document 79 Filed 05/19/16 Page 6 of 11



ARC 016 that were in fact related to VA business were reported to Duluth through

weekly net remit reports and split accordingly. (Id., ¶ 8, Ex. 7).

                   Duluth’s argument it did not control the
              Pegasus ARC 119 hotel commission dollars is wrong.
      Although Duluth concedes all hotel commission dollars related to Pegasus

ARC 119 were paid into a bank account wholly owned and controlled by Duluth,

Duluth attempts to argue ADTRAV nevertheless withheld from and did not share

with Duluth alleged reported or misclassified hotel commission dollars because

ADTRAV “was able to manipulate the reconciliation of actual commissions versus

what commissions were reported to Duluth.” (Doc. 78, p. 8-9 of 15). Duluth then

makes the 100% false statement: “Duluth had no way of knowing what was

booked on the front end in TRAMS nor whether it closed out on the backend when

payments were received.” (Id. p. 9 of 15). ARC 119 was and is Duluth’s ARC

number. VA bookings were made under Worldspan. All Worldspan bookings

were tied to ARC 119. Worldspan sent directly to Duluth the identical TRAMS

data Worldspan sent to ADTRAV. Additionally, Pegasus transmitted all booking

information directly to Duluth. Duluth had all information it needed to determine

the hotel bookings for commissions paid into Duluth’s bank account.

      Hotel commission splits were based upon percentages of hotel bookings by

either ADTRAV or Duluth. For instance, if Duluth was responsible for 60% of the

hotel bookings and ADTRAV responsible for 40%, Duluth would be entitled to


                                           6
       Case 2:14-cv-00056-TMP Document 79 Filed 05/19/16 Page 7 of 11



60% of the hotel commission dollars for that particular month. The booking

information that governed the hotel commission splits was contained in

information sent directly to Duluth by Worldspan and Pegasus. Duluth’s claim

that it was at ADTRAV’s mercy on hotel commission splits for Pegasus ARC 119

is simply wrong.

                   Inability to match confirmation numbers.
      ADTRAV noted in its Response to Duluth’s Motion for Contempt that there

are times hotel commissions cannot be matched to a specific hotel booking within

TRAMS. (Doc. 77, pp. 14-15 of 23). Duluth argues that because sometimes hotel

commissions cannot be matched to a specific hotel booking “ADTRAV could have

reported any number it desired in phantom commissions.” (Doc. 78, p. 10 of 15).

Duluth further asked the question: “How is ADTRAV able to determine that these

commissions were VA transactions?” (Id.).      The answer is simple.      These

unmatched hotel commissions were deposited in either the bank account jointly

owned by Duluth and ADTRAV or the bank account solely controlled by Duluth

because they were VA transactions.     As ADTRAV pointed out before, these

unreconciled hotel commissions were set out in monthly commission reports sent

to Duluth and divided between Duluth and ADTRAV. It is difficult to conceive

what dastardly plot in which ADTRAV engaged by disclosing to Duluth

unreconciled hotel commissions and dividing these commissions with Duluth.



                                       7
       Case 2:14-cv-00056-TMP Document 79 Filed 05/19/16 Page 8 of 11



       The alleged “surge” in hotel bookings immediately upon Duluth
          taking over the accounting is anything but indisputable.
      Duluth, through Zandman, attempts to make the argument that once it took

over the accounting from ADTRAV in 2014, the hotel bookings dramatically

increased,   which   Duluth     concludes       shows   ADTRAV   manipulated   and

underreported booking data.       Duluth concedes that Zandman again made a

“mistake” in his calculations for hotel bookings for 2014, which improperly

inflated the hotel bookings calculated by Zandman by more than $3.5 million.

After acknowledging this “mistake”, Duluth argues Zandman concluded hotel

bookings in 2014 totalled $12.5 million and increased to $16 million in 2015.

Zandman provides no actual calculations supporting these figures. Duluth notes

even ADTRAV’s estimate for hotel bookings for 2014 represents a significant

increase from 2013 hotel bookings (20%), but ADTRAV “has offered no

explanation for that surge.” (Doc. 78, p. 13 of 15). If Zandman’s calculations are

correct, then from 2014 through 2015 when Duluth had control over all the

accounting, the hotel bookings “surged” almost 20%.              What is Duluth’s

explanation for that “surge”?

      Duluth has made a similar argument in Zandman’s initial report relating to

an alleged increase in airline tickets booked after Duluth took over the accounting

in January 2014. On Schedule 18 to Zandman’s initial report, he lists airline

tickets booked from August 2009 through June 2015. (See Schedule 18 attached as


                                            8
        Case 2:14-cv-00056-TMP Document 79 Filed 05/19/16 Page 9 of 11



Ex. B).4 He left a blank for the number of airline tickets booked for January 2014

when Duluth took over the accounting. Zandman makes a point that the number of

airline tickets booked after Duluth took over the accounting increased substantially

compared to airline tickets booked during the time ADTRAV was in charge of

accounting. Based upon this alleged increase in airline tickets booked, Duluth has

argued, similar to this alleged increase in hotel bookings, that ADTRAV was

manipulating reports by not disclosing and sharing with Duluth all of the VA travel

business. However, a comparison of Zandman’s Schedule 18 shows for the year

20125 (when ADTRAV was in charge of the VA accounting), the airline tickets

booked were 123,309 versus 130,580 for the same time period in 2014 (when

Duluth was in charge of the accounting). This is not a great difference.

       Duluth has offered no explanation as to why, even after it took over the

accounting, the airline tickets booked substantially increased in 2015 versus 2014.

According to Zandman’s Schedule 18, the total number of tickets booked from

February through June 2014 was 53,621. For the same time period in 2015, the

number of airline tickets booked increased to 99,290. The number of tickets

booked in the same time period of 2015 compared to 2014 increased

approximately 100%. According to Zandman, in April 2014, Duluth booked 9,960


4
 Schedule 18 has been enlarged from its original form to make it readable.
5
 The total 2012 figures exclude January as the 2014 figures compared thereto in Schedule 18 do
not include January 2014 figures.

                                              9
       Case 2:14-cv-00056-TMP Document 79 Filed 05/19/16 Page 10 of 11



airline tickets.   In April 2015, Duluth booked 27,436 airline ticket, an

unprecedented threefold increase in airline tickets booked. Duluth is quick to

insinuate ADTRAV manipulated data if airline and hotel bookings increased from

the time ADTRAV was in charge of accounting versus the time Duluth was in

charge of accounting. However, what is Duluth’s explanation as to the incredible

increase in airline ticket bookings and hotel bookings from 2014 to 2015, a time

when Duluth was in control of the accounting? This analysis by Zandman is once

again faulty and unreliable.

                                CONCLUSION
      ADTRAV has complied with the Court’s November 30, 2015 Order.

ADTRAV conducted the ESI search using Duluth’s keyword terms. ADTRAV

produced responsive documents. Duluth’s attempt, through Zandman, to suggest

ADTRAV has manipulated data and not reported and shared commissions with

Duluth has clearly failed.     Zandman’s Supplemental Report is flawed and

unreliable. Duluth’s Motion for Contempt is due to be denied.

                                       Respectfully submitted,

                                       ROGER L. BATES (ASB-8176-T65R)
                                       TRACY R. DAVIS (ASB-5086-C62D)
OF COUNSEL:
HAND ARENDALL LLC
2001 Park Place North, Suite 1200
Birmingham, AL 35203
(205) 324-4400
rbates@handarendall.com


                                       10
          Case 2:14-cv-00056-TMP Document 79 Filed 05/19/16 Page 11 of 11



tdavis@handarendall.com

                                        /s/ Rodney R. Cate
                                        RODNEY R. CATE (ASB-8568-T46R)

OF COUNSEL:
HAND ARENDALL LLC
P. O. Box 123
Mobile, AL 36601
(251) 432-5511
rcate@handarendall.com


                          CERTIFICATE OF SERVICE

       I hereby certify that on May 19, 2016, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system, which will send notification of
such filing to the following:

Lynne Stephens O’Neal, Esq. (loneal@lspclaw.com)
Jim H. Wilson, Esq. (jwilson@lspclaw.com)
LEITMAN SIEGAL PAYNE & CAMPBELL, P.C.
420 20th Street North, Suite 2000
Wells Fargo Tower
Birmingham, AL 35203

D. Michael Sweetnam, Esq. (dms@msweetnam.com)
THE SWEETNAM FIRM
P.O. Box 2089
Suwanee, GA 30024

                                        /s/ Rodney R. Cate
                                        RODNEY R. CATE (ASB-8568-T46R)
2899680




                                        11
